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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                    NORTHERN DIVISION

DEBORAH LOCKLEAR                            *

               Plaintiff                    *

v.                                          *       Civil Action No. 1:19-cv-00659-DKC

WALMART, INC., et al.                       *

               Defendants                   *

*      *       *       *       *    *       *       *     *       *      *      *       *

                   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants Walmart, Inc., et al. (collectively “Walmart” or “Defendants”), by and through

counsel JENNIFER M. ALEXANDER, ESQUIRE, KELLY S. KYLIS, ESQUIRE, and

MCNAMEE, HOSEA, JERNIGAN, KIM, GREENAN & LYNCH, P.A., pursuant to Fed. R. Civ.

Proc. 56 and Local Rule 105, moves for summary judgment dismissing all of Plaintiff Deborah

Locklear’s claims against Walmart in the above captioned case on the grounds that there exists no

genuine dispute of any material fact, and Walmart is entitled to judgment as a matter of law. The

accompanying Memorandum is incorporated and adopted as support for the Motion.

       WHEREFORE, Defendants Walmart, Inc., et al. respectfully request that Defendants’

Motion for Summary Judgment be granted and final judgment be entered in favor of Defendants.

                                            Respectfully submitted,

                                            /s/ Jennifer M. Alexander
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                                            /s/ Kelly S. Kylis
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                                          410-266-9909
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on this 25th day of November, 2019, a copy of the foregoing was
electronically filed and served via the Court’s CM/ECF Systems upon:

       Jason Wasserman, Esq.
       Silverman Thompson Slutkin & White, LLC
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       Baltimore, Maryland 21201
       Attorneys for Plaintiff

                                          /s/ Jennifer M. Alexander
                                          Jennifer M. Alexander, Esquire




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